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George, Alexa (WF) (FBI)

From:                             lers@google.com
Sent:                             Thursday, September 9, 2021 6:12 PM
To:                               George, Alexa (WF) (FBI)
Subject:                          [EXTERNAL EMAIL] - LERS Submission Confirmation - Google Reference. No. 6595016


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